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                       UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION



  ENTROPIC COMMUNICATIONS, LLC,                  Civil Action No. 2:22-cv-00125-JRG

        Plaintiff                                   JURY TRIAL DEMANDED

           v.

  CHARTER COMMUNICATIONS, INC.,

        Defendant.




   CHARTER’S MOTION FOR SUMMARY JUDGMENT OF NON-INFRINGEMENT
        OF THE ASSERTED CLAIMS OF THE ’682 AND ’690 PATENTS
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                                                  TABLE OF AUTHORITIES


 Cases

 Anderson v. Liberty Lobby, Inc.,
   477 U.S. 242 (1986)) .................................................................................................................. 5

 Celotex Corp. v. Catrett,
   477 U.S. 317 (1986) .................................................................................................................... 5

 Lucent Techs., Inc. v. Gateway, Inc.,
   580 F.3d 1301 (Fed. Cir. 2009)................................................................................................. 11

 Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
  475 U.S. 574 (1986) .................................................................................................................... 5

 Toshiba Corp., v. Imation Corp.,
   681 F.3d 1358 (Fed. Cir. 2012)................................................................................................... 5


 Rules

 FED. R. CIV. P. 56 ............................................................................................................................ 5




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       10.




       11.    For the steps of claim 1 of the ’682 patent requiring “assigning,” “generating,” and

 “selecting” “by said CMTS,”

                                                                                      .

       12.




       13.




       14.




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        15.




        C.

        16.




 III.   LEGAL STANDARD

        “Summary judgment is appropriate when, drawing all justifiable inferences in the non-

 movant’s favor, there exists no genuine issue of material fact and the movant is entitled to

 judgment as a matter of law.” Toshiba Corp., v. Imation Corp., 681 F.3d 1358, 1361 (Fed. Cir.



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 2012) (citing FED. R. CIV. P. 56 and Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986)).

 When the non-movant “fails to make a showing sufficient to establish the existence of an element

 essential to that party’s case, and on which that party will bear the burden of proof at trial,” the

 moving party is entitled to summary judgment. Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

 In order to avoid summary judgment, the party opposing the motion must come forward with

 competent summary judgment evidence of the existence of a genuine fact issue. See Matsushita

 Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 585–86 (1986); Anderson, 477 U.S. at 257.

 In doing so, the nonmoving party “must do more than simply show that there is some metaphysical

 doubt as to the material facts.” Matsushita, 475 U.S. at 586.

 IV.    ARGUMENT

        Entropic accuses Charter of infringing claims 1–3 of the ’682 patent through its




        The ’682 patent claims an alleged invention that differs fundamentally from




                                       As a result, Charter does not infringe claim 1 of the ’682

 patent, and its dependent claims, and also does not infringe any asserted claim of the ’690 patent

 based on



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        The CableLabs DOCSIS 3.1 Profile Management Application Technical Report describes

 PMA’s “architecture,” explaining that its “functionality [can] be moved out of a CMTS and

 implemented as an ‘application’ running outside the CCAP. Here the idea is to move the profile

 creation process and an application external to the CMTS.” Ex. V (DOCSIS 3.1 Technical Report)

 at -289; see also id. at -293 (“a Profile Management Application (PMA) external to the CMTS

 has been envisioned”).6




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  “By deploying the PMA application external to any one CMTS, the operator will be able to
 deploy one PMA application solution across different CMTS platforms . . . .” Ex. V (DOCSIS 3.1
 Technical Report) at -293.

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        Because Charter did not use          for “each cable modem served by” a CMTS, it cannot

 meet either the “determining” or “assigning” steps of claim 1 (and its dependents) of the ’682

 patent for this reason alone.

        B.




        A method claim is not infringed unless someone “practiced all [the] steps.” See, e.g., Lucent

 Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1317 (Fed. Cir. 2009). Because Charter

                            , the Court should grant summary judgment of non-infringement for

 method claims 1, 2, and 3 of the ’682 patent and method claims 7 and 8 (which depend on claim

 1) of the ’690 patent with respect to

 V.     CONCLUSION

        For these reasons, Charter respectfully asks that the Court grant summary judgment in its

 favor and find that (1) claims 1, 2, and 3 of the ’682 patent are not infringed; and (2) claims 7 and

 8 of the ’690 patent are not infringed by                .



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  Dated: September 11, 2023           Respectfully submitted,

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